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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF ALABAMA
                                 NORTHERN DIVISION

WILLIAM L. GLASSCOCK,                         )
                                              )
          Plaintiff,                          )
                                              )
          v.                                  )   CIVIL ACTION NO. 2:09cv1161-CSC
                                              )               (WO)
MICHAEL J. ASTRUE,                            )
Commissioner of Social Security,              )
                                              )
          Defendant.                          )


                                    FINAL JUDGMENT

          In accordance with the memorandum opinion entered herewith, it is

          ORDERED AND ADJUDGED that the decision of the Commissioner be and is

hereby AFFIRMED and that this case be and is hereby DISMISSED with prejudice. It is

further

          ORDERED that costs be and are hereby taxed against the plaintiff for which

execution may issue.

          Done this 30th day of June 2011.


                                          /s/Charles S. Coody
                                     CHARLES S. COODY
                                     UNITED STATES MAGISTRATE JUDGE
